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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 TESSERA ADVANCED
 TECHNOLOGIES, INC.,

                   Plaintiff,                          Civil Action No. 2:17-cv-671-JRG
     vs.                                               JURY TRIAL DEMANDED 
 SAMSUNG ELECTRONICS CO., LTD.
 and SAMSUNG ELECTRONICS
 AMERICA, INC.,

                   Defendants.


 DEFENDANTS’ NOTICE OF FILING OF PETITIONS FOR INTER PARTES REVIEW

           Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

(collectively, “Samsung”) hereby notify the Court that Samsung recently filed Petitions for Inter

Partes Review with the Patent Trial and Appeal Board of the U.S. Patent and Trademark Office.

The Petitions, listed in the below table, challenge the validity of all patents and all claims

asserted in this litigation.

 Petition Number                    Challenged Patent                Submission Date

                                                                     June 15, 2018
 IPR2018-01263                      U.S. Patent No. 6,512,298

                                                                     June 15, 2018
 IPR2018-01264                      U.S. Patent No. 6,852,616


           Samsung intends to file a motion requesting that the Court Stay the case in view of these

filings.




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DATED: June 22, 2018                     Respectfully submitted,
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                                         Counsel for Defendants Samsung Electronics
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                                         and Samsung Semiconductor, Inc.




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                              CERTIFICATE OF SERVICE



        The undersigned hereby certifies that all counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system per Local Rule CV-5(a)(3) on June 22, 2018.


                                /s/ Melissa R. Smith




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